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                                                                                            United States Bankruptcy Court
                                                                                                Southern District of Texas

                                                                                                   ENTERED
                                                                                               September 21, 2023
                                                                                                Nathan Ochsner, Clerk
                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                         §
In re:                                                   § Chapter 11
                                                         §
STRUDEL HOLDINGS LLC and                                 § Case No. 23-90757 (CML)
AVR AH LLC,                                              §
                                                         § (Jointly Administered)
                    Debtors.1                            §
                                                         §

          ORDER GRANTING DEBTOR’S MOTION FOR AN ORDER UNDER
      11 U.S.C. §§ 105(A) AND 331 ESTABLISHING PROCEDURES FOR INTERIM
    COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR PROFESSIONALS
                               [Relates to Docket No. 74]

          The above-referenced debtors and debtors in possession (the “Debtor”) filed its motion

(the “Motion”)2 pursuant to sections 105(a), 330 and 331 of the Bankruptcy Code seeking

authority to establish procedures for interim compensation and reimbursement of professionals.

The Court has jurisdiction over the Motion and the relief requested in the Motion pursuant to 28

U.S.C. § 1334. The Motion is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and the Court

may enter a final order on the Motion. The relief requested by the Motion is in the best interests

of the Debtor, the estate, creditors, stakeholders, and other parties in interest and the Debtor gave

sufficient and proper notice of the Motion and related hearings. Upon consideration of the Motion

and after hearing statements in support of the Motion during proceedings before this Court, the

Court finds that good and just cause exists to grant the requested relief.



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    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: AVR AH LLC (0148) and Strudel Holdings LLC (5426). The Debtors’ service address
    is: PO Box 4068, Aspen, CO 81612.
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    Any capitalized term not expressly defined herein shall have the meaning ascribed to such term in the
    Motion.


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       IT IS HEREBY ORDERED THAT:

           1.   Except as may otherwise be provided by order of this Court authorizing the

retention of specific professionals, all Professionals in these cases may seek interim compensation

in accordance with the following procedures (collectively, the “Compensation Procedures”):

                a. On or after the fifth (5th) day of each month following the month for which
                   compensation is sought, each Professional may file a monthly fee statement
                   (“Monthly Fee Statement”) describing and itemizing the fees and expenses (in
                   accordance with the guidelines promulgated by the U.S. Trustee) incurred
                   during the preceding month, together with a summary setting forth the total
                   amount of fees, each Professional’s (and any paraprofessional’s) hourly rate,
                   total time and fees, the amount of reimbursable expenses sought and the amount
                   of any prepetition retainer held by the Professional to the following
                   (collectively, the “Application Recipients” and each an “Application
                   Recipient”): (i) the Debtors, PO Box 4068, Aspen, CO 81612; (ii) proposed
                   counsel to the Debtors, Porter Hedges LLP, Attn: Joshua W. Wolfshohl
                   (jwolfshohl@porterhedges.com)           and        Aaron        J.       Power
                                                                        th
                   (apower@porterhedges.com), 1000 Main Street, 36 Floor, Houston, Texas
                   77002; (iii) counsel to the O’Connor Defendants, Orrick, Herrington &
                   Sutcliffe LLP, Attn: Laura Metzger (lmetzger@orrick.com); and (iv) the Office
                   of the United States Trustee for the Southern District of Texas, Attn: Andrew
                   Jimenez (Andrew.jimenez@usdoj.gov) and                  Ha Minh Nguyen
                   (ha.nguyen@usdoj.gov). Any Professional that fails to file a Monthly Fee
                   Statement for a particular month or months may subsequently submit a Monthly
                   Fee Statement that includes a request for compensation earned or expenses
                   incurred during the previous months.

                b. Each Application Recipient or any other party in interest will have until 4:00
                   p.m. (Prevailing Central Time) on the day that is fourteen (14) days after the
                   filing of a Monthly Fee Statement (the “Objection Deadline”) to object to the
                   requested fees and expenses in accordance with paragraph (c) below. Upon the
                   expiration of the Objection Deadline, the Debtors are authorized to pay the
                   Professional an amount equal to 80% of the fees and 100% of the expenses
                   requested in the applicable Monthly Fee Statement (the “Maximum Monthly
                   Payment”) that are not subject to an objection pursuant to subparagraph (c)
                   below (the “Actual Monthly Payment”).

                c. If any Application Recipient or any other party in interest objects to a Monthly
                   Fee Statement, the objecting party shall, on or before the Objection Deadline,
                   serve via email a written notice upon the respective Professional and each of
                   the Application Recipients (the “Notice of Objection to Monthly Fee
                   Statement”) setting forth the precise nature of the objection and the amount at
                   issue. Thereafter, the objecting party and the Professional shall attempt to

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                     resolve the objection on a consensual basis. If the parties reach an agreement,
                     the Debtors shall be authorized to promptly pay 80% of the agreed-upon fees
                     and 100% of the agreed-upon expenses. If, however, the parties are unable to
                     reach a resolution of the objection within fourteen (14) days (or such longer
                     period as mutually agreed to by the Professional and the objecting party) after
                     service of the Notice of Objection to Monthly Fee Statement, the objecting party
                     shall file its objection (the “Objection”) with the Court within three (3) business
                     days and serve such Objection on the respective Professional and each of the
                     Application Recipients. Thereafter, such Professional may either (i) file with
                     the Court a response to the Objection, together with a request for payment of
                     the difference, if any, between the Maximum Monthly Payment and the Actual
                     Monthly Payment made to the affected Professional (the “Incremental
                     Amount”), or (ii) forego payment of the Incremental Amount until the next
                     hearing on an Interim Fee Application or Final Fee Application (each as defined
                     herein), at which time the parties may request that the Court consider the
                     Objection.

                 d. Each Professional may submit its first Monthly Fee Statement no earlier than
                    September 5, 2023. This initial Monthly Fee Statement will cover the period
                    from the Petition Date through August 31, 2023. Thereafter, the Professionals
                    may submit Monthly Fee Statements in the manner described above.

                 e. Beginning with the period ending on September 30, 2023, and at three-month
                    intervals thereafter (each, an “Interim Fee Period”), each of the Professionals
                    may file with the Court and serve on the Application Recipients an interim fee
                    application (each, an “Interim Fee Application”) for payment of
                    compensation and reimbursement of expenses sought in the Monthly Fee
                    Statements served during such Interim Fee Period.              Each Interim Fee
                    Application must include (i) the Complex Case Fee Application Coversheet,3
                    (ii) a copy of the invoices for the interim applicable period (if hourly) or a
                    calculation of the fee due for the interim application period (if non-hourly); (iii)
                    an itemized list of expenses for which reimbursement is requested (if not
                    contained in the copies of the invoices); and (iv) a proposed order in the form
                    located on the Court’s website. Application Recipients and other parties in
                    interest will have twenty-one (21) days after filing of an Interim Fee
                    Application to object thereto. The first Interim Fee Application should cover
                    the Interim Fee Period from the Petition Date through and including September
                    30, 2023.

                 f. The Court may approve an uncontested Interim Fee Application without the
                    need for a hearing if no Objections are timely filed thereto. Upon allowance by
                    the Court of a Professional’s Interim Fee Application, the Debtors shall be



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    See Complex Case Procedures, ¶ 60.

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                   authorized to promptly pay such Professional all requested fees (including the
                   20% holdback) and expenses not previously paid.

                g. The pendency of an Objection to payment of compensation or reimbursement
                   of expenses will not disqualify a Professional from the future payment of
                   compensation or reimbursement of expenses under the Compensation
                   Procedures.

                h. Upon the conclusion of a Professional’s representation, such Professional shall
                   file an application seeking final approval of all paid and unpaid fees and
                   expenses (the “Final Fee Application”).

                i. In each Interim Fee Application and Final Fee Application, all Professionals
                   who (a) have been or are hereafter retained pursuant to section 327 or 1103 of
                   the Bankruptcy Code or (b) are not retained by the Debtors pursuant to an order
                   entered in connection with an ordinary course professionals motion shall apply
                   for compensation for professional services rendered and reimbursement of
                   expenses incurred in connection with the Debtors’ Chapter 11 Cases in
                   compliance with sections 330 and 331 of the Bankruptcy Code and applicable
                   provisions of the Bankruptcy Rules, the Bankruptcy Local Rules, the U.S.
                   Trustee Guidelines, and any other applicable procedures and orders of the Court
                   both in connection with any Interim Fee Application and Final Fee Application
                   to be filed by the Professionals in these Chapter 11 Cases.

       2.       The service of Interim Fee Applications and Final Fee Applications (collectively,

the “Applications”) shall be limited to the Application Recipients and all other parties that have

filed a notice of appearance with the Court and requested notice of pleadings in these Chapter 11

Cases shall be entitled to receive only notices of hearings on the Applications (the “Hearing

Notice”), if any hearing is scheduled on an Interim Fee Application.

       3.       Neither (a) the payment of or the failure to pay, in whole or in part, monthly interim

compensation and reimbursement of expenses under the Compensation Procedures nor (b) the

filing of or failure to file an Objection with the Court will bind any party in interest or the Court

with respect to the final allowance of applications for compensation and reimbursement of

expenses of Professionals. All fees and expenses paid to Professionals under the Compensation

Procedures are subject to challenge and disgorgement until final allowance by the Court.


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       4.        A Professional shall not seek payment in a Final Fee Application for any amounts

that such Professional previously sought in a Monthly Fee Statement or Interim Fee Application

if (a) such Professional voluntarily waived or reduced such amounts to resolve formal or informal

objections or (b) such amounts were disallowed by order of this Court.

       5.        The Debtors shall include all payments to retained professionals in these Chapter

11 Cases on their monthly operating report, detailed so as to state the amount paid to each retained

professional; provided that amounts paid to ordinary course professionals may be stated in the

aggregate on any monthly operating report.

           6.    Notwithstanding anything in this Order, all Professionals in these Chapter 11 Cases

shall comply with the relevant U.S. Trustee Fee Guidelines and shall record time in increments of

1/10th of an hour.

           7.    All notices given in accordance with the Compensation Procedures shall be deemed

sufficient and adequate notice and in full compliance with the applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, and the Bankruptcy Local Rules.

           8.    All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

           9.    Notice of the Motion as provided therein is hereby deemed good and sufficient

notice of such Motion, and the requirements of Bankruptcy Rule 6004(a) and the Bankruptcy Local

Rules are satisfied by such notice.

           10.   Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.

           11.   The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.


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           12.   This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.


 Houston, Texas
         August 02,
         September  2019
                   21,
 Dated: ____________,  2023
                       2023
                                               HONORABLE CHRISTOPHER M. LOPEZ
                                               UNITED STATES BANKRUPTCY JUDGE




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